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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF NextGen 1.7.1.1
                               Eastern Division

UNITED STATES OF AMERICA
                                        Plaintiff,
v.                                                     Case No.: 1:12−cr−00723
                                                       Honorable Matthew F. Kennelly
Adel Daoud
                                        Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, May 3, 2023:


        MINUTE entry before the Honorable Matthew F. Kennelly as to Adel Daoud: At
request of defendant's standby counsel, the in−person status hearing set for 1:15 p.m. on
5/4/2023 is moved up to 12:45 p.m. on that date. This is a time change only. Standby
counsel is also granted leave to appear by phone for the hearing. Government counsel and
the defendant are to appear in person for the hearing. Mailed notice. (mma, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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